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"?§

UNITED STATES DISTRICT COUR'I`
EASTERN DISTRIC'I` OF LOUISIANA

INDICTMENT FOR CONSPIRACY TO EXCEED AUTHORIZED

ACCESS OF A GOVERNMENT COMP-UTER
FEL ONY

UNITED sTATEs or AMERICA * CR]MINAL DOCKET No.

v. * sECTroN: 0 8 - 1 4 7
ToDD KELLY * vloLATIoN: 13 U.s.C. § 3?1
VICKY LYNN MUNN

*

CHARLES E. BARNETT, JR. sECT. F MAG. 5

The Grand Jury charges that:

COUNT 1
A. _ At all times material hercin:

1. The National Crime Information Center (NCIC) is an electronic data
processing facility which electronically stores, among other things, the
criminal histories of individuals throughout the United States. Access to the
information contained therein is accessible only to authorized persons for
authorized purposes The NCIC is managed, operated and maintained by the

_ Uriited States Depart:mcnt of Justice, more particularly, the Federal Bureau

of lnvestigation, pursuant to Title 28, Code of Federal Regulations, Section ,

 

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20.31.

2. VICKY LYNN MU'NN was a supervisor in the Worthless checks division of
the St. Tammany Parish District Attomey’s Oftice in Covington, Louisiana,
and, in connection With her official duties, had access to the NCIC.

3. TODD KELLY operated the Barnett Group of New Orleans, a private
investigative iirm.

4. CHARLES E. BARNETT, JR., operated the Barnett Group - Product
Liability, a private investigative tirm.

5. A portion of the private investigative work performed by the Barnett Group
of New Orleans and the Barnett Group-Procluct Liability involved researching
and compiling the criminal histories of various individuals

B. The Conspiracy
Beginning in or about January 2003, and continuing through on or about May 13,
2004, in the Eastem District of Louisiana and elsewhere, defendants VICKY MUNN, TODD
KELLY, and CHARLES E. BARNETT, JR., did knowingly and willfully combine, conspire,
confederate and agree with each other to intentionally exceed authorized access to the NCIC in the
St. Tammany Parish District Attomey’s Ofiice, in order to obtain information, specifically NCIC
criminal reports, for commercial advantage and private financial gain, with the value of the
information exceeding $5,000; in violation of Title 18, United States Code, Section 1030(a)(2)(B)
and (c)(2)(B)(i) & (iii).
C. Overt Acts
In furtherance of the conspiracy and to accomplish the objects thereof, the defendants,

VICKY MUNN, TODD KELLY, and CHARLES E. BARNETT, JR., committed the following overt

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acts, among others, in the Eastem Distr'ict of Louisiana and elsewhere, by Which, on or about the
dates listed below, VICKY MUNN supplied NCIC information to TODD KELLY (TK) and/or

CHARLES E. BARNETT, JR., (CB), for Which they paid her the enumerated amount:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OVERT ACT M AMOUNT PAID BY
1. lx’9f2003 180.00 TK
2. 1/16/2003 90.00 TK
3. 1!16f2003 30.00 CB
4. 1/’24/2003 180.00 TK
5. 1:'30:’2003 90.00 TK
6. 2f4r'2003 180.00 CB
?. 2r’27/ 2003 120.00 TK
8. 2327;'2003 60.00 CB
9. 4/2/2003 90.00 CB
10. 4!3!'2003 150.00 TK
11. 4!'?`;'2003 520.00 TK
12. 4!17/2003 120.00 CB
13. 5!13!2003 240.00 TK
14. 6!5!2003 120.00 TK
15. 6!12!2003 90.00 TK
16. 6!12!2003 90.00 CB
1';'. 6!19;‘2003 30.00 TK
18. 6!27!2003 180.00 TK
19. 61'27/2003 30.00 CB
20. 6£'30)'2003 60.00 TK
21. ?/10,#'2003 150.00 CB

 

 

 

 

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22. ?»'24,12003 TK
23. 7»'31!2003 30.00 TK
24. 8/3;2003 330.00 TK
25. sxzmooz 270.00 TK
26. srzsr2003 120.00 cB
2a 9:11£2003 150.00 rtc
2a 9,130;2003 240.00 TK
29. lora/2003 120.00 TK
30. 10;1?;2003 120.00 TK
31. 10;30;2003 130.00 rtc
32. ims/2003 210.00 TK
33. 11;26;2003 120.00 TK
34. 12;8,12003 150.00 rtc
35. 1/20/2004 120.00 TK
36. 1!29»'2004 2?0.00 ca
37. 2113,12004 330.00 ca
3a 2x16x2004 60.00 TK
39. 3!25»'2004 90.00 ca
40. 411;2004 150.00 TK
41. 411;2004 150.00 CB
42. 4»'19:2004 120.00 TK
43. 4»'21:2004 240.00 CB
44. 4r22x2004 90.00 ca
45. 4;29,»'2004 210.00 TK
46. 516,12004 120.00 ca
47. 5;12;2004 150.00 TK
4a 5;13;2004 350.00 CB

 

 

 

 

 

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TO'I`AL 7,3 80.00

 

 

 

 

 

All in violation of Title 18, United States Code, Section 3?1.

A TRUE BILL:

FOREPERSON ;

    

_ MASELLI MANN
-. .. t Assistant United States Attorney
Chief, Cr'imina.l Division

Bar Roll No. 9020

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MICHAEL E. MCMAHON
Assistant United States Attorney
Bar Roll No. 10095

New Orleans, Louisiana
June 5, 2008

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